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                    Exhibit A
                         1:25-cv-1775-BAH
Logo         CaseName
         Department 1:25-cv-01775-BAH
                          Agency          Document 10-3
                                   Organization                        Filed 06/24/25       Page
                                                                                 Organization      2 Information
                                                                                              Address of 3
         United States      Forest       Washington Office                         1400 Independence Avenue, SW
         Department of      Service                                                Washington, D.C. 20250
         Agriculture



                                                             File Code:      1580
                                                                  Date:       April 2, 2025

       Jamal Brown
       Director of Finance, People, & Culture
       Center for Regenerative Solutions/Urban Sustainability Network
       500 Westover Drive, #14973
       Sanford, NC 27330

       Re: Termination Notice for Agreement No. 24-CA-11132544-016 for the project titled,
       Accelerating Urban Forestry as Equity Centered Climate Action and Sustainable
       Community Development


       Dear Mr. Brown:
       This letter provides notice that the United States Department of Agriculture is terminating your
       federal award, (24-CA-11132544-016, Accelerating Urban Forestry as Equity Centered
       Climate Action and Sustainable Community Development), in accordance with the terms and
       conditions of your award, which include applicable regulations relating to termination. See 2
       C.F.R. §§ 200.340-343 and 472.

       It is the policy of the Department to establish a return to American principles and realign its
       focus towards its original objectives of maximizing and promoting American agriculture;
       ensuring a safe, nutritious, and secure food supply; enhancing rural prosperity; and managing our
       National Forests. This policy prioritizes multiple use management; conservation of our Nation's
       natural resources; and a focus on serving the American people in furtherance of those policies.
       The Department's resources must be conserved and focused upon its original objectives, as well
       as its obligations under the Constitution and laws of the United States. The Department's
       priorities include ensuring that its grants, cooperative agreements, and other similar
       arrangements do not support programs that promote or take part in climate change or
       environmental justice initiatives. It is vital that the Department assess both whether all award
       payments are free from fraud, abuse, and duplication and whether they are in the best interests of
       the United States.

       Termination The award specified above provides funding for programs that promote or take part

       policies and priorities; that are not free from fraud, abuse, or duplication; or that otherwise fail to
       serve the best interests of the United States. The award is therefore inconsistent with, and no
       longer effectuates, Department priorities. See 2 C.F.R. § 200.340(a)(4). Pursuant to, among other
       authorities, 2 C.F.R. §§ 200.339-343, which are applicable to your award, the Department hereby
       terminates award No. 24-CA-11132544-016 in its entirety effective April 2, 2025.

       Closure You must submit all final reports and a final payment request no later than 120 calendar
       days after the date of this notice. You will be reimbursed for costs incurred up to the date of this
       notice that are determined to be consistent with 2 C.F.R. § 200.343, Effects of suspension or



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                                                                                                     2

termination. Any open balance remaining 120 days after the date of this notice will be
unavailable for payment.

If you do not submit all reports in accordance with the terms and conditions of the Federal award
within one (1) year of the effective termination date, the Forest Service must proceed to close out
the award with the information available. In these circumstances, in accordance with 2 C.F.R. §
200.344, the Forest Service must report your material failure to comply with the terms and
conditions of the award in SAM.gov using the Contractor Performance Assessment Reporting
System (CPARS). In this way, failure to submit timely and accurate final reports may affect your
future funding.

Recipients are required by Federal regulation to retain all Federal award records consistent with
2 C.F.R. § 200.334.                                                                             -

                                                                                  unds due as a result
of later refunds, corrections, or other transactions, including final indirect cost rate adjustments
(refer to 2 C.F.R. § 200.345).

Appeal Process. See the DISPUTES provision in the award document.

If you have questions, contact your Forest Service Program Contact, Nausheen Iqbal at
Nausheen.iqbal@usda.gov.

Sincerely,



LISA NORTHROP
Associate Deputy Chief
State, Private, and Tribal Forestry

Cc:
Jaelith Hall-Rivera, Chief of Staff, Office of the Chief
John Crockett, Deputy Chief of State, Private, and Tribal Forestry
Lisa Northrop, Associate Deputy Chief of State, Private, and Tribal Forestry
Andria Weeks, Associate Deputy Chief of Business Operations
Nausheen Iqbal, Assistant Director (Acting) Urban and Community Forestry
Lynne Sholty, Supervisory Grants & Agreements Specialist
